Case 2:22-cv-03184-DDP-AS Document 45 Filed 05/30/23 Page 1 of 3 Page ID #:543
Case 2:22-cv-03184-DDP-AS Document 45 Filed 05/30/23 Page 2 of 3 Page ID #:544




  1         Upon consideration of the Stipulation to Consolidate Actions and Request to
  2   Continue the June 5, 2023 Scheduling Conference and good cause appearing, the
  3   Court hereby orders as follows:
  4         1.     The Actions entitled Ironshore Specialty Insurance Company v.
  5   University of Southern California and George M. Tyndall, United States District
  6   Court for the Central District of California Case No. 2:21-cv-1272-DDP (ASx), filed
  7   on February 11, 2021 (the “Ironshore Action"); Certain Underwriters at Lloyd's,
  8   London, Subscribing to Follow Form Excess Liability Policy No. PH1706285; and
  9   Certain Underwriters at Lloyd's, London, Subscribing to Follow Form Excess
 10   Liability Policy No. PH1706286 v. University of Southern California and George M
 11   Tyndall, United States District Court for the Central District of California Case No.
 12   2:22-cv-03184 DDP (ASx) filed on May 10, 2022 (the “Lloyd’s Action”); and North
 13   American Capacity Insurance Corporation v. University of Southern California and
 14   George M Tyndall, United States District Court for the Central District of California
 15   Case No. 2:23-cv-02975-DDP (ASx) filed on April 20, 2023 (the “NACIC Action")
 16   are consolidated for all purposes. All subsequent pleadings, motions, and other
 17   documents shall be filed in the earliest filed case (the Ironshore Action), Case No.
 18   2:21-cv-1272-DDP (ASx), which shall serve as the lead case;
 19         2.     The Scheduling Conference currently set in the Ironshore Action and
 20   the Lloyd’s Action for June 5, 2023 at 11:00 a.m. will be rescheduled to July 10
 21   2023 at 11:00 a.m. and will apply to the consolidated cases, i.e., the Ironshore
 22   Action, the Lloyd’s Action, and the NACIC Action;
 23         3.     The Minute Order dated February 27, 2023 filed in the Ironshore
 24   Action at ECF No. 108 shall also apply to the NACIC Action;
 25         4.     The Parties in the consolidated cases (except Dr. Tyndall) shall file a
 26   Joint Rule 26(f) Report with the Court by July 10, 2023 setting dates in the
 27   consolidated cases;
 28                                              2
Case 2:22-cv-03184-DDP-AS Document 45 Filed 05/30/23 Page 3 of 3 Page ID #:545




  1          5.     USC and NACIC shall make their Initial Disclosures in the NACIC
  2   Action by July 10, 2023; and
  3          6.     Nothing herein precludes any party from moving in the future for an
  4   order for a separate trial.
  5

  6          IT IS SO ORDERED.
  7

  8
      DATED: May 30, 2023

  9                                                   DEAN D. PREGERSON
 10                                                   United States District Judge

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28                                             3
